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                              UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION


In re:
                                                                                   Case No.: 16-04406
                                                                                             Chapter 7
William C. King, Jr.
Tammee King

                        Debtor(s)          /

                                          REPORT OF SALE


         NOTICE IS GIVEN THAT on or about December 08, 2016, the sale of the estate’s interest in the
following described items were sold for a total of $134,000.00 to Allen G. Hudson and Bonnie L.
Hudson. The sale was completed pursuant to the Motion to Sell Property Free and Clear of Liens dated
November 11, 2016 (doc. No. 33) and Order Granting Motion to Sell Free and Clear of Liens,
Encumbrances and Interests dated December 02, 2016 (doc # 39).
106 Camino Circle, Ormond Beach, FL 32174


                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing notice has been sent by
electronic filing to the United States Trustee’s Office, this April 25, 2017.


                                                         /s/ Arvind Mahendru, Trustee
                                                         Arvind Mahendru, Esq.
                                                         5703 Red Bug Lake Road #284
                                                         Winter Springs, Florida 32708
                                                         Telephone (407) 504-2462
